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                      Exhibit F
 Ms Tildesley’s email to Mr Thresh and Mr Morrison
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From:                              Hannah Tildesley <htildesley@applebyglobal.com>
Sent:                              Saturday, August 19, 2023 8:41 AM
To:                                Charlie Thresh; Mike Morrison
Cc:                                John Wasty
Subject:                           White Rock Insurance (SAC) Ltd
Attachments:                       2023-08-18-11-58-57-Notice---The-Bermuda-Monetary-Authority-and-White-Rock-
                                   Bermuda-Jointly-Agree-to-Take-Action-to-Address-Alleged-Fraud-at-Vesttoo.pdf


Dear Both,

As you know, we act on behalf of Vesttoo Ltd.

Please provide, as a matter of urgency, a copy of the order(s) made at yesterday’s hearing in the above
captioned matter appointing your as JPLs in respect of the White Rock Vesttoo cells (referred to in the
attached BMA notice).

Kind regards,

HANNAH TILDESLEY
PARTNER | DISPUTE RESOLUTION
Appleby (Bermuda) Limited
Tel: +1 441 298 3590 / Ext. 6123




BERMUDA | BVI | CAYMAN | GUERNSEY | HONG KONG | ISLE OF MAN | JERSEY | MAURITIUS | SEYCHELLES | SHANGHAI
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